Case 1:23-cv-03721-SCJ Document 1-84 Filed 08/21/23 Page 1 of 12




                 EXHIBIT B-073
      Case 1:23-cv-03721-SCJ Document 1-84 Filed 08/21/23 Page 2 of 12




                    IN THE SUPERIOR COURT OF FULTON COUNTY

                                     STATE OF GEORGIA                               FILED IN OFFICE


INRE:                                         )
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                              )
Witness:                                      )       Judge Robert C. I. McBurncy
James Phil Waldron                            )


   CERTIFICATE OF MATERIAL WITNESS PURSUANT TO UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEQ.

       Upon the petition of Fani T. Willis, District Attorney, Atlanta Judicial Circuit, pursuant to

the Uniform Act to Secure the Attendance of Witnesses from Without the State, codified at

O.C.G.A. § 24-13-90 et seq., the Court issues the following Certificate under seal of this Court,

and further says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this Court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, et seq., "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions

           related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is
Case 1:23-cv-03721-SCJ Document 1-84 Filed 08/21/23 Page 3 of 12




    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that James Phil Waldron, born May 24, 1964, (hereinafter, "the Witness") is a

    necessary and material witness to the Special Purpose Grand Jury's investigation. The

    Court further finds that the Witness currently resides in Dripping Springs, Hays

    County, Texas.

4. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that the Witness is known to be affiliated with both former President Donald

    Trump and the Trump Campaign.

5. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that on December 3, 2020, the Witness appeared at a Georgia State Senate

    subcommittee meeting in Atlanta, Georgia, where he testified about purported

    vulnerabilities of the Dominion Voting Systems voting machines used throughout

    Georgia during the November 2020 election. At the hearing, the Witness was

   introduced by Rudolph Giuliani, former President Trump's personal attorney. There
Case 1:23-cv-03721-SCJ Document 1-84 Filed 08/21/23 Page 4 of 12




    is evidence in the public record that suggests that the Witness testified at similar

    proceedings regarding similar subject matter in other states.

 6. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that on or about December 11, 2021, The Washington Post reported that it had

    conducted an interview with the Witness. During the interview, the Witness stated

    that he worked with attorneys for former President Donald Trump and the Trump

    Campaign in the weeks following the November 2020 election and that he was part of

    a team that briefed lawmakers using a PowerPoint presentation titled "Options for 6

    JAN." The Witness further stated that he had met with Mark Meadows, former

    President Trump's Chief of Staff, multiple times in the weeks following the

    November 2020 election to discuss claims of election fraud and that he attended a

    meeting with former President Trump and state legislators from Pennsylvania on

    November 25, 2020, to discuss claims of election fraud. The Witness further stated

    that he once met with Rudolph Giuliani and United States Senator Lindsey Graham to

    brief Senator Graham in the weeks following the November 2020 election.

7. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

   finds that the Witness is a necessary and material witness. The Witness possesses

   unique knowledge concerning the logistics, planning, and subject matter of his

   testimony before the Georgia State Senate and other state legislative bodies. The

   Witness possesses unique knowledge concerning relevant communications between

   the Witness, former President Donald Trump, the Trump Campaign, and other known
Case 1:23-cv-03721-SCJ Document 1-84 Filed 08/21/23 Page 5 of 12




     and unknown individuals involved in the multi-state, coordinated efforts to influence

     the results of the November 2020 elections in Georgia and elsewhere. Finally, the

     Witness's anticipated testimony is essential in that it is likely to reveal additional

     sources of information regarding the subject of this investigation.

 8. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 9. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Thursday, September 22, 2022, at 9:00 a.m., at the Superior

    Court of Fulton County, Fulton County Courthouse, 136 Pryor Street, 3rd Floor,

    Atlanta, Georgia 30303. The Court notes that the District Attorney anticipates that the

    Witness's testimony will not exceed one day.

 I 0. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with O.C.G.A. §24-13-

    90 et seq.

 11. The Witness shall be given protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters

    which arose before the Witness's entrance into this State and other states, while

    traveling to and from this Court for the purpose of testifying for this case.

12. The State of Georgia is a participant in a reciprocal program providing for the

    securing of witnesses to testify in foreign jurisdictions which likewise provide for

    such methods of securing witnesses to testify in their courts.
     Case 1:23-cv-03721-SCJ Document 1-84 Filed 08/21/23 Page 6 of 12




       13. This Certificate is made for the purpose of being presented to a judge of the District

           Court of Hays County, Texas, by the Hays County Criminal District Attorney or his

           duly authorized representative, who is proceeding at the request and on behalf of the

           Office of the Fulton County District Attorney.

       WITNESS MY HAND AND SEAL as a judge of the Superior Court of Fulton County,

Georgia,              ll'A


      This the         day of August, 2022.




                                                                                y
                                                    Superior Court of Fulton County
                                                    Atlanta Judicial Circuit
                                                    State of Georgia
Case 1:23-cv-03721-SCJ Document 1-84 Filed 08/21/23 Page 7 of 12




                    Exhibit A
   Case 1:23-cv-03721-SCJ Document 1-84 Filed 08/21/23 Page 8 of 12




IN RE: REQUEST FOR
       SPECIAL PURPOSE
       GRANIJJJURY

               ORDER APPROVING REQUEST FOR SPECIAL PURPOSE
               GRAND JURY PURSUANTTO O.C.G.A.§15-12-100,et seq.

       The District Attorney for the AtlantaJudicialCircuitsubmitted to the judges of the

Superior Coutt of Fulton County a requestto impanela specialpurposejury for the purposesset

forth in that request. This request was consideredand approvedby a majority of the total

number of the judges of this Court, as requiredby O.C,G.A.§15-12-I00(b).

       IT [S THEREFORE ORDEREDthat a specialpurposegrandjury be drawn and

impaneledto serve as provided in O.C.G.A.§ 15-12-62.1,15-12-67,and 15-12-100,to

commenceon May 2, 2022, and continuingfor a periodnot to exceed 12 months. Such period

shall not include any time periodswhen the supe1visingjudgedete1minesthat the special

purpose grandjury cannot meet for safety or other reasons,or any time periods when normal

courtoperations are suspendedby order of the SupremeCourt of Georgia or the Chief Judgeof

the Superior Court. The specialpurposegrandjury shall be authorizedto investigateany and all

facts and circumstancesrelating directlyor indirectlyto allegedviolationsof the laws of the

State of Georgia, as set forth in the requestof the DistrictAttorneyreferenced herein above.

       Pursuant to O.C.G.A. § 15-12-10!(a), the HonorableRobert C. I. McBumey is hereby

assignedto supervise and assist the special purposegrandjmy, and shall charge said special

purpose grand jury and receive its reports as providedby law.
   Case 1:23-cv-03721-SCJ Document 1-84 Filed 08/21/23 Page 9 of 12




        Thia authorization shall include the investigation of any overt acts or predicate acts

relating to the subject of the special purpose grand jury's investigative purpose. The special

purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see

fit. Furthermore, the provisions ofO.C.G.A. § 15-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grandjury(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of criminal matters that has accumulated as a
result of the COVID-19 Pandemic.

       IT IS FURTHER 0,'7.,_,...,c!:'D~ this Order shall be filed in the Office of the Clerk of
                                    '{
the Superior Court of Fulto Count,r.~
                                           " \,


       SO OWE~D,        m \,:            '17'-'-'-t-t-/t-----'            2022.




                              CHRISTOP                     R~IEF        mDGE
                              Superior Court of Fulton County
                              Atlanta Judicial Circuit
Case 1:23-cv-03721-SCJ Document 1-84 Filed 08/21/23 Page 10 of 12




                        Exhibit B
        Case 1:23-cv-03721-SCJ Document 1-84 Filed 08/21/23 Page 11 of 12



                    OFFICE OF THE FULTONCOUNTYDISTRICTATTORNEY
                                ATLANTAJUDICIALC[RCUIT
                             136PRYORSTREETSW,3RDFLOOR
                                 ATLANTA,GEORGIA30303
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    The HonorableChristopherS. Brasher
    ChiefJudge, Fulton County SuperiorCourt                                  FILED IN OFFICE
    FultonCounty Courthouse                                                                        J)
    185Central Avenue SW, Suite T-8905
    Atlanta, Georgia30303

    January20, 2022

     Dear Chief Judge Brasher:

    I hope this letter finds you well and in good spirits.Pleasebe advisedthat the DistrictAttorney's
    Officehas receivedinformationindicatinga reasonableprobabilitythat the State of Georgia's
    administrationof elections in 2020, includingthe State's electionof the Presidentof the United
    States,was subject to possible criminaldisruptions.Our officehas also learnedthat individuals
    associatedwith these disruptionshave contactedotheragenciesempoweredto investigatethis
    matter,includingthe Georgia Secretaryof State,t11eGeorgiaAttorneyGeneral,and the United
    StatesAttorney's Office for the NorthernDistrictof Georgia,leavingthis office as the sole
    agencywithjurisdiction that is not a potentialwitnessto conductrelatedto the matter.As a
    result,our officehas opened an investigationinto any coordinatedattemptsto unlawfullyalter
    the outcomeof the 2020 electionsin this state.

    Wehave made efforts to interviewmultiplewitnessesand gatherevidence,and a significant
    numberof witnessesand prospectivewitnesseshave refusedto cooperatewith the investigation
    absenta subpoenarequiring their testimony.By way of exa.11ple,   GeorgiaSecretaryof State
    BradRaffensperger,an essential witnessto the investigation,has indicatedthat he will not
    participatein an interview or otherwiseoffer evidenceuntil he is presentedwith a subpoenaby
    my office.Please see Exhibit A, attachedto this Jetter.

    Therefore,I am hereby requesting,as the electedDistrictAttorneyfor Fulton County,pursuant
    to O.C.G.A.§ 15-12-100et. seq., that a special purposegrandjury be impaneledfor the purpose
    of investigatingthe facts and circumstancesrelatingdirectlyor indirectlyto possible attemptsto
    disruptthe lawful administrationof the 2020 electionsin the State of Georgia.Specifically,a
    specialpwpose grandjury, which will not have the authorityto return au indictmentbut may
    makerecommendationsconcerningcriminalprosecutionas it shall see fit, is needed for three
    reasons:first, a special purpose grandjury can be impaneledby the Court for any time period
    requiredin order to accomplishits investigation,whichwill likely exceed a normal grandjury
        Case 1:23-cv-03721-SCJ Document 1-84 Filed 08/21/23 Page 12 of 12




    tenn; second, the special purpose grandjury wouldbe empoweredto review this matter and this
    matteronly, with an investigatoryfocus appropriateto the complexityof the facts and
    circumstancesinvolved; and third, the sittinggrandjury wouldnot be requiredto attempt to
    addressthis matter in addition to their normalduties.

    Additionally,I am requesting that, pursuantto O.C.G.A.§ 15-12-10I, a Fulton CountySuperior
    CourtJudge be assigned to assist and supervisethe specialpurposegrandjury in carrying out its
    investigationand duties.

    I have attacheda proposed order impanelingthespecialpurposegrandjury for the consideration
    of the Court.

  ~spectful~,       r"J I
     >-ie:\ A)~
~a¥~*~
'--~mstrict Attorney, Atlanta Judicial Circuit

    ExhibitA: Transcript of October 31, 2021 episodeof Meet the Press on NBC News at 26:04
    (videoarchivedat https://www.youtube.com/watch?v=B7lcBRPgt9k)
    ExhibitB: Proposed Order

    cc:
    TheHonorableKimberly·M. EsmondAdams
    TheHonorableJane C. Barwick
    The HonorableRachelle Camesdale
    The HonorableThomas A. Cox, Jr.
   The HonorableEric Dunaway
   The HonorableCharles M. Eaton, Jr.
   The HonorableBelinda E. Edwards
   TheHonorableKe!Iy Lee Ellerbe
   The HonorableKevin M. Farmer
   The HonorableUral Glanville
   The HonorableShakura L. Ingram
   The HonorableRachel R. Krause
   The HonorableMelynee Leftridge
   The HonorableRobert C.I. McBumey
   The HonorableHenry M. Newkirk
   The HonorableEmily K. Richardson
   The HonorableCraig L. Schwall, Sr.
   The HonorablePaige Reese Whitaker
   The HonorableShennela J. Williams
   FultonCountyClerk of Superior Court.Cathelene"Tina" Robinson
